Exhibit $
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


EXXON MOBIL CORPORATION,

               Plaintiff,
                                                           No. 17-CV-2301 (VEC) (SN)
       v.

ERIC TRADD SCHNEIDERMAN, Attorney
General of New York, in his official capacity, and
MAURA TRACY HEALEY, Attorney General of
Massachusetts, in her official capacity,

               Defendants.


              EXXONMOBIL’S SECOND AMENDED COMPLAINT
               FOR DECLARATORY AND INJUNCTIVE RELIEF

       Exxon Mobil Corporation (“ExxonMobil”) brings this action seeking declaratory

and injunctive relief against Eric Tradd Schneiderman, the Attorney General of New

York and Maura Tracy Healey, the Attorney General of Massachusetts.           Attorneys

General Schneiderman and Healey have joined together with each other, as well as others

known and unknown, in an unlawful agreement to impose their viewpoint on climate

change by abusing their law enforcement authority under state law.           To coerce

ExxonMobil into embracing their viewpoint on a matter of public concern, the Attorneys

General launched pretextual investigations of ExxonMobil in clear violation of the First

Amendment. Attorney General Schneiderman issued multiple subpoenas to ExxonMobil,

and Attorney General Healey issued a civil investigative demand (“CID”) to ExxonMobil

that went so far as to name the groups promoting a viewpoint the Attorneys General

oppose. ExxonMobil seeks an injunction barring these unconstitutional investigations

and a declaration that they violate ExxonMobil’s rights.
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                                       INTRODUCTION

        1.      Frustrated by the federal government’s apparent inaction on climate

change, Attorneys General Schneiderman and Healey (the “Attorneys General”) entered

into a conspiracy with each other, as well as a coalition of special interests (including

investors in alternative energy companies) and other state attorneys general, to abuse law

enforcement powers as a means of imposing their viewpoint on climate change. Acting

independently and as members of the conspiracy, the Attorneys General have targeted

ExxonMobil with pretextual investigations intended to cleanse the public square of

alternative viewpoints on a matter of public policy.

        2.      The conspiracy first surfaced publicly when Attorney General

Schneiderman hosted a press conference in New York City on March 29, 2016,1 with

former Vice President and renewable energy investor Al Gore as a featured speaker.2

Attorney General Schneiderman declared there was “no dispute” about climate policy,

only “confusion, and confusion sowed by those with an interest in profiting from the

confusion and creating misperceptions in the eyes of the American public that really need

to be cleared up.”3       Attorney General Healey pledged that those who purportedly

“deceived” the public—by disagreeing with her about climate policy—“should be, must

be, held accountable.”4 Claude Walker, the Attorney General of the Virgin Islands,

concluded, “We have to look at renewable energy. That’s the only solution.”5 All three


1
    See Paragraphs 24 to 37 below.
2
    A transcript of the AGs United for Clean Power Press Conference, held on March 29, 2016, was
    prepared by counsel based on a video recording of the event, which is available at
    http://www.ag.ny.gov/press-release/ag-schneiderman-former-vice-president-al-gore-and-coalition-
    attorneys-general-across. A copy of this transcript is attached as Exhibit B and is incorporated by
    reference.
3
    Ex. B at App. 10.
4
    Ex. B at App. 20.
5
    Ex. B at App. 24.
attorneys general issued burdensome subpoenas or investigatory document demands to

ExxonMobil in late 2015 or early 2016 as part of investigations purportedly justified by

the thinnest of pretexts.

           3.     That press conference and the related investigations were the result of

years of planning and lobbying by special interests.6 For nearly a decade, climate change

activists and certain plaintiffs’ attorneys have sought to obtain the confidential records of

energy companies as a means of pressuring those companies to change their policy

positions.      A 2012 workshop examined ways to obtain the internal documents of

companies like ExxonMobil for the purpose of “maintaining pressure on the industry that

could eventually lead to its support for legislative and regulatory responses to global

warming.”7 The attendees at that workshop concluded that “a single sympathetic state

attorney general might have substantial success in bringing key internal documents to

light.”8

           4.     In the years that followed, participants in the 2012 workshop lobbied state

attorneys general to launch investigations of energy companies to further political

objectives having nothing to do with law enforcement. In January 2016, those special

interests met at the offices of the Rockefeller Family Fund in New York to discuss the

“[g]oals of an Exxon campaign,” which included to “delegitimize [it] as a political actor”

and to “force officials to disassociate themselves from Exxon.”9 The attendees also

brainstormed how to use “AGs” to “get[] discovery” and “creat[e] scandal.”10



6
     See Paragraphs 38 to 61 below.
7
     Ex. C at App. 56.
8
     Id. at 40.
9
     Ex. D at App. 67.
10
     Ex. S1 at App. 480.
                                               2
         5.      Those special interests were also lurking in the background at the

Attorneys General’s press conference. Before the state attorneys general took the stage,

members of their respective staffs attended presentations on the “imperative of taking

action now on climate change” and “climate change litigation” that were delivered by the

architects of the 2012 workshop to abuse state law enforcement power to shape public

discourse on climate change.11

         6.      The Attorneys General recognized that the behind-the-scenes involvement

of these individuals could expose the special interests promoting their investigations and

the bias underlying their deployment of law enforcement resources for partisan ends.

When one of the 2012 workshop attendees asked Attorney General Schneiderman’s

office what he should tell a reporter if asked about his involvement in the press

conference, Lemuel Srolovic, Chief of the Environmental Protection Bureau, asked that

he not confirm his attendance.12

         7.      These so-called investigations amount to nothing more than unlawful

viewpoint discrimination. That is why the Attorneys General have lurched from one

pretextual justification to another as they struggled to justify their actions.13 When

Attorney General Schneiderman launched his investigation, he claimed to be

investigating ExxonMobil’s scientific research in the 1970s and 1980s.14 Later, during

one of Attorney General Schneiderman’s unprecedented press briefings on his

“investigation” of ExxonMobil, he conceded that he had abandoned his original inquiry

into ExxonMobil’s historical scientific research and was instead pursuing a new theory of


11
     Ex. E at App. 70.
12
     Ex. F at App. 80.
13
     See Paragraphs 92 to 94 below.
14
     Ex. K at 115; Ex. L at 123.
                                            3
investor fraud based on proved reserves that he incorrectly believed were at risk of being

“stranded.”15 As it enters its third year, the investigation now purports to focus on asset

impairment.16 These shifts further demonstrate that Attorney General Schneiderman is

simply searching for a legal theory—any legal theory—to continue his efforts to pressure

ExxonMobil and intimidate one side of a public policy debate.17

         8.       The Attorneys General must devise creative legal arguments because

during the relevant limitations periods (which do not exceed six years), ExxonMobil has

widely and publicly confirmed18 that it “recognize[s] that the risk of climate change and

its potential impacts on society and ecosystems may prove to be significant.”19

ExxonMobil has also publicly supported the Paris accords and advocated for a tax on

carbon emissions since 2009.20            Moreover, in conducting its business, ExxonMobil

addresses the potential for future climate policy by estimating a proxy cost of carbon,

which seeks to reflect potential policies governments may employ related to the

exploration, development, production, transportation or use of carbon-based fuels.21 This

cost, which in some regions may approach $80 per ton by 2040, has been included in

ExxonMobil’s Outlook for Energy for several years.22 Further, ExxonMobil requires all

of its business lines to include, where appropriate, an estimate of greenhouse gas-related




15
     Ex.MM at 351.
16
     Ex. S2 at App. 482.
17
     See Paragraphs 92 to 94 below.
18
     See Paragraph 120 below.
19
     Ex. G at App. 93; see also Ex. H at App. 103 (“Because the risk to society and ecosystems from rising
     greenhouse gas emissions could prove to be significant, strategies that address the risk need to be
     developed and implemented.”).
20
     Ex. T at App. 182.
21
     Ex. T at App. 190.
22
     Id.
                                                    4
emissions costs in their economics when seeking funding for capital investments.23 The

Attorneys General’s proffered theories of fraud rest uneasily with these disclosures.

         9.      At bottom, the Attorneys General’s investigations have nothing to do with

legitimate law enforcement goals and everything to do with an unconstitutional effort to

curtail free speech rights based on viewpoint bias. Regulating debate over public policy,

even when styled as clearing up “confusion” and “deception,” is not a legitimate law

enforcement function. That is why fifteen other state attorneys general openly criticized

Attorneys General Schneiderman, Healey, and Walker for misusing their law

enforcement power to pursue a politicized investigation designed to suppress the free

exercise of First Amendment rights.24

         10.     Defending its rights against this improper exercise of state power,

ExxonMobil filed a civil rights action against Attorney General Walker in Texas state

court and the instant action against the Attorneys General in federal court. Attorney

General Walker withdrew his subpoena shortly after ExxonMobil’s challenge was

removed to federal court. The strength of ExxonMobil’s prima facie showing against the

Attorneys General in the instant action was so powerful that Judge Ed Kinkeade

expressed concern that their investigations were means “to further their personal agendas

by using the vast power of the government to silence the voices of all those who disagree

with them.”25

         11.     Through their official misconduct, the Attorneys General have deprived,

and will continue to deprive, ExxonMobil of its rights under the United States

23
     Id.
24
     ECF No. 63; ECF No. 192-3; Ex. Y at App. 227; Ex. QQ at App. 435; Ex. RR at App. 438; Ex. SS at
     App. 441.
25
     Order Transferring Case to the Southern District of New York, Exxon Mobil Corp. v. Healey, No.
     4:16-CV-00469 (N.D. Tex. March 29, 2017) (ECF No. 180).
                                                 5
Constitution, the Texas Constitution, and the common law. ExxonMobil therefore seeks

a declaration that the Attorneys General’s investigations violate its rights under Articles

One and Six of the United States Constitution; the First, Fourth, and Fourteenth

Amendments to the United States Constitution; Sections Eight, Nine, and Nineteen of

Article One of the Texas Constitution; and that the issuance of the subpoena and CID

constitutes an abuse of process under the common law. ExxonMobil also seeks an

injunction barring further continuation of the investigations.       Absent an injunction,

ExxonMobil will suffer imminent and irreparable harm for which there is no adequate

remedy at law.

                                         PARTIES

       12.       ExxonMobil is a public, shareholder-owned energy company incorporated

in New Jersey with principal offices in the State of Texas. ExxonMobil is headquartered

and maintains all of its central operations in Texas.

       13.       Defendant Eric Tradd Schneiderman is the Attorney General of New

York. He is sued in his official capacity.

       14.       Defendant Maura Tracy Healey is the Attorney General of Massachusetts.

She is sued in her official capacity.

                             JURISDICTION AND VENUE

       15.       This Court has subject matter jurisdiction over this action pursuant to

Sections 1331 and 1367 of Title 28 of the United States Code. Plaintiff alleges violations

of its constitutional rights in violation of Sections 1983 and 1985 of Title 42 of the United

States Code. Because those claims arise under the laws of the United States, this Court

has original jurisdiction over them. 28 U.S.C. § 1331. Plaintiff also alleges related state

law claims that derive from the same nucleus of operative facts. Each of Plaintiff’s state
                                           6
law claims—like its federal claims—is premised on statements by Attorneys General

Schneiderman and Healey at the press conference and during the course of their

investigations, their issuance of subpoenas and a CID, the demands made therein, and

other documentary evidence of their intention to pressure ExxonMobil to change its

perceived position on climate policy. This Court therefore has supplemental jurisdiction

over those claims. 28 U.S.C. § 1367(a).

         16.      Venue is proper within this District pursuant to Section 1391(b) of Title 28

of the United States Code because a substantial part of the events giving rise to the claims

occurred in the Southern District of New York.26 The March 29, 2016 press conference

in which the Attorneys General described their intent to use law enforcement powers to

alter public perception about climate policy was held in this District.

                                                FACTS

A.       Attorney General Schneiderman Opens His Investigation of ExxonMobil
         with a Press Leak Followed by a Television Interview.

         17.      In    November       2015,      ExxonMobil        received     Attorney      General

Schneiderman’s subpoena at its corporate headquarters in Irving, Texas.27 Within hours,

the press reported the subpoena’s issuance and its contents. According to an article in

The New York Times, the subpoena “demand[ed] extensive financial records, emails and

other documents,” and the “focus” of the investigation was on “the company’s own long

running scientific research” on climate change.28               The article identified as sources

“people with knowledge of the investigation,” all of whom “spoke on the condition of

26
     This conclusion was reached by Northern District of Texas Judge Ed Kinkeade when he transferred
     this action to the Southern District of New York. (ECF. No. 180.)
27
     Ex. I at App. 108. Shortly after Attorney General Schneiderman issued his first subpoena, his office
     confirmed, in writing, that “by producing documents in accordance with our discussions prior to the
     return date as extended, Exxon is not waiving any right to seek to quash or otherwise object to the
     subpoena.” Ex. S55 at App. 1138.
28
     Ex. A at App. 2.
                                                    7
anonymity saying they were not authorized to speak publicly about investigations.”29 To

state the obvious, ExxonMobil did not alert The New York Times or any other media to

the subpoena’s existence or its contents.

         18.      This press leak was unsettling.             It is customary for law enforcement

officials to maintain confidentiality of their investigations, both to protect the integrity of

the investigative process and to avoid unfair prejudice to those under investigation.

Indeed, Attorney General Schneiderman himself has recognized it is inappropriate to

“comment on ongoing investigations.”30                      But Attorney General Schneiderman’s

investigation of ExxonMobil has been conducted with a marked disregard for traditional

concerns about confidentiality or unfair prejudice.                 Before ExxonMobil had even

accepted service of the subpoena, it had received multiple media inquiries about the

subpoena and could read about the investigation in online news accounts.31

         19.      Within a week of issuing the subpoena, Attorney General Schneiderman

appeared on a PBS NewsHour segment, entitled “Has Exxon Mobil misle[d] the public

about its climate change research?”32                During that appearance, Attorney General

Schneiderman described the focus of his investigation on ExxonMobil’s purported

decision to “shift[] [its] point of view” and “change[] tactics” on climate change after

“being at the leadership of doing good scientific work” on the issue “[i]n the 1980s.”33

Attorney General Schneiderman said his probe extended to ExxonMobil’s “funding [of]

organizations.”34 While he did not refer to them expressly as his political adversaries, he



29
     Id. at App. 2–3.
30
     Ex. S62 at App. 1316.
31
     See, e.g., Ex. A at App. 2–7; Ex. J at App. 110–112.
32
     Ex. K at App. 114.
33
     Id. at App. 115.
34
     Id. at App. 116.
                                                     8
derided them as “climate change deniers” and “climate denial organizations.”35 Those

organizations included the “American Enterprise Institute, . . . the American Legislative

Exchange Council, . . . [and the] American Petroleum Institute.”36

         20.      Renewable energy was another focus of the interview. Attorney General

Schneiderman said he was “concerned about” ExxonMobil’s purported “overestimating

the costs of switching to renewable energy,” but he did not explain how any supposed

error in that estimate could conceivably constitute a fraud or mislead any consumer.37

         21.      Attorney General Schneiderman did not discuss ExxonMobil’s oil and gas

reserves or its assets at all during this interview.

         22.      Later that month at an event sponsored by Politico in New York, Attorney

General Schneiderman said that ExxonMobil appeared to be “doing very good work in

the 1980s on climate research” but its “corporate strategy seemed to shift” later.38

Attorney General Schneiderman claimed that the company had funded organizations that

he labeled “aggressive climate deniers,” again specifically naming his perceived political

opponents at the American Enterprise Institute, the American Legislative Exchange

Council, and the American Petroleum Institute.39         Attorney General Schneiderman

admitted that his “investigation” of ExxonMobil was merely “one aspect” of his office’s

efforts to “take action on climate change,” commenting that society’s failure to address

climate change would be “viewed poorly by history.”40




35
     Id. at App. 116, 118.
36
     Id. at App. 116.
37
     Id.. at App. 117.
38
     Ex. L at App. 123.
39
     Id.
40
     Id. at App. 124.
                                                9
         23.     After this initial flurry of statements to the press, relative quiet followed,

and ExxonMobil attempted in good faith to produce records demanded by the subpoena.

It provided Attorney General Schneiderman with documents related to its historical

research on global warming and climate change.

B.       The Attorneys General Pledge to Use Law Enforcement Tools to Impose
         Their Viewpoint on Climate Policy.

         24.     The playing field changed on March 29, 2016, when Attorney General

Schneiderman hosted a press conference in New York City. Calling themselves the

“AGs United For Clean Power” and the “Green 20,” Attorneys General Schneiderman

and Healey were joined by other state attorneys general and Al Gore to announce their

plan to take “progressive action to address climate change” by investigating

ExxonMobil.41 Attorneys general or staff members from over a dozen other states were

in attendance, as was Attorney General Walker of the Virgin Islands.

         25.     Expressing dissatisfaction with the supposed “gridlock in Washington”

regarding climate change legislation, Attorney General Schneiderman said that the

coalition had to work “creatively” and “aggressively” to respond to “th[e] most pressing

issue of our time,” namely, the need to “preserve our planet and reduce the carbon

emissions that threaten all of the people we represent.”42

         26.     Attorney General Healey agreed, opining that “there’s nothing we need to

worry about more than climate change.”43 She considered herself to have “a moral

obligation to act” to remedy what she described as a threat to “the very existence of our




41
     Ex. M at App 127.
42
     Ex. B at App. 9–11.
43
     Id. at App. 20.
                                              10
planet,” and she vowed to take “quick, aggressive action” to “address climate change and

to work for a better future.”44

         27.     Echoing those themes, Attorney General Walker stated that “the American

people . . . have to do something transformational” because “[w]e cannot continue to rely

on fossil fuel.”45     In private communications with other members of the Green 20

coalition, Attorney General Walker expressed his hope that the coalition’s efforts would

“identify[] other potential litigation targets” and “increase our leverage” against

ExxonMobil to replicate or improve on an $800 million settlement he had previously

obtained against another energy company.46

         28.     For the Green 20, the public policy debate on climate change was over and

dissent was intolerable. Attorney General Schneiderman declared that he had “heard the

scientists” and “kn[e]w what’s happening to the planet.” 47 To him, there was “no dispute

but there is confusion, and confusion sowed by those with an interest in profiting from

the confusion and creating misperceptions in the eyes of the American public that really

need to be cleared up.”48 Schneiderman has long derided those who do not share his

viewpoint on climate policy. In a September 2014 speech, Schneiderman noted the

importance of “challenging those who refuse to acknowledge that climate change is real”

and that “it is up to us to do the transformational work needed to enable everyone to

clearly see that climate change is real, that all of us are feeling its effects right now, and

that we can and must address it together.”49 And in the same speech, Attorney General



44
     Id. at App. 20–21.
45
     Id. at App. 24.
46
     Ex. N at App. 131, 133–134.
47
     Ex. B at App. 10.
48
     Id.
49
     Ex. S5 at App. 530.
                                             11
Schneiderman revealed his belief that his prosecutorial powers should be used in a

“creative” fashion for the political end of “chang[ing] public awareness” on the issue of

climate change, noting “we all need to be activists.”50

         29.      According to Attorney General Healey, “[p]art of the problem has been

one of public perception,” causing “many to doubt whether climate change is real and to

misunderstand and misapprehend the catastrophic nature of its impacts.”51 She promised

that those who “deceived” the public—by disagreeing with her about climate change—

“should be, must be, held accountable.”52 Mr. Gore agreed, denouncing those he accused

of “deceiving the American people . . . about the reality of the climate crisis and the

dangers it poses to all of us.”53

         30.      What     the      Attorneys        General   derided   as    “confusion,”

“misunderstand[ing],” and “misapprehen[sion]” is the very speech that the First

Amendment safeguards as protected political speech.            It is not the proper role of

government to limit the free flow of such ideas, but the Green 20 was unmistakable in its

belief that free speech constituted “part of the problem” their actions were intended to

address.

         31.      The Attorneys General also embraced the renewable energy industry, in

which Mr. Gore is a prominent investor and promoter, as the only legitimate response to

climate change. Attorney General Schneiderman said, “We have to change conduct” to

“mov[e] more rapidly towards renewables.”54 Attorney General Healey promised to



50
     Id. at 525.
51
     Ex. B at App. 20.
52
     Id.
53
     Id. at App. 14.
54
     Id. at App. 27–28.
                                                12
“speed our transition to a clean energy future . . . .”55 According to Attorney General

Walker, “[w]e have to look at renewable energy. That’s the only solution.”56 Mr. Gore

urged the coalition of state attorneys general to investigate his business competitors for

“slow[ing] down this renewable revolution” by “trying to convince people that renewable

energy is not a viable option.”57

         32.       The assembled attorneys general had nothing but praise for Mr. Gore,

whose financial interests aligned with their political agenda.            Attorney General

Schneiderman enthused that “there is no one who has done more for this cause” than Mr.

Gore, who recently had been “traveling internationally, raising the alarm,” and “training

climate change activists.”58 Equally embracing the public support of Mr. Gore, Attorney

General Healey praised him for explaining so “eloquently just how important this is, this

commitment that we make,” and she thanked him for his “inspiration” and

“affirmation.”59       Virgin Islands Attorney General Walker hailed the former Vice

President as one of his “heroes.”60

         33.       In an effort to legitimize what the attorneys general were doing, Mr. Gore

cited perceived inaction by the federal government as the justification for action by the

Green 20. He observed that “our democracy’s been hacked . . . but if the Congress really

would allow the executive branch of the federal government to work, then maybe this

would be taken care of at the federal level.”61 Reading from the same script, Attorney

General Schneiderman pledged that the Green 20 would “step into th[e] [legislative]


55
     Id. at App. 21.
56
     Id. at App. 24.
57
     Id. at App. 17.
58
     Id. at App. 13.
59
     Id. at App. 20.
60
     Id. at App. 23.
61
     Id. at App. 17.
                                               13
breach” created by this alleged federal inaction.62 He then showed that his subpoena was

a tool for achieving his political goals:

         We know that in Washington there are good people who want to do the
         right thing on climate change but everyone from President Obama on
         down is under a relentless assault from well-funded, highly aggressive and
         morally vacant forces that are trying to block every step by the federal
         government to take meaningful action. So today, we’re sending a message
         that, at least some of us—actually a lot of us—in state government are
         prepared to step into this battle with an unprecedented level of
         commitment and coordination.63

         34.       Attorney General Schneiderman linked the coalition’s political efforts to

his investigation of ExxonMobil, reminding the audience that he “had served a subpoena

on ExxonMobil” to investigate “theories relating to consumer and securities fraud.”64 He

also suggested that ExxonMobil faced a presumption of guilt in his office, arguing that

ExxonMobil had been “using the best climate models” to determine “how fast the sea

level is rising” and to “drill[] in places in the Arctic where they couldn’t drill 20 years

ago” while telling “the public for years that there were no ‘competent models,’ . . . to

project climate patterns, including those in the Arctic.”65              Attorney General

Schneiderman went on to suggest there was something illegal in ExxonMobil’s alleged

support for “organizations that put out propaganda denying that we can predict or

measure the effects of fossil fuel on our climate, or even denying that climate change was

happening.”66

         35.       Attorney General Healey was equally explicit in her prejudgment of

ExxonMobil. She stated that there was a “troubling disconnect between what Exxon


62
     Id. at App. 11.
63
     Id. at App. 12.
64
     Id. at App. 11.
65
     Id.
66
     Id.
                                              14
knew, what industry folks knew, and what the company and industry chose to share with

investors and with the American public.”67 Those conclusions were announced weeks

before she even issued the CID to ExxonMobil.68

         36.      The political motivations articulated by Attorneys General Schneiderman,

Healey, and Walker, Mr. Gore, and the other press conference attendees struck a

discordant note with those who rightfully expect government attorneys to conduct

themselves in a neutral and unbiased manner.            The overtly political tone of the

conference even prompted one reporter to ask whether the press conference and the

investigations were “publicity stunt[s].”69

         37.      Even some members of the coalition were apprehensive about the

expressly political focus of its ringleader.       Attorney General Schneiderman’s office

circulated a draft set of “Principles” for the “Climate Coalition of Attorneys General” that

included a “[p]ledge” to “work together” to enforce laws “that require progressive action

on climate change.”70       Recognizing the overtly political nature of that pledge, an

employee of the Vermont Attorney General’s Office wrote: “We are thinking that use of

the term ‘progressive’ in the pledge might alienate some. How about ‘affirmative,’

‘aggressive,’ ‘forceful’ or something similar?”71

C.       In Closed-Door Meetings, Private Interests Urge Abusing State Power.

         38.      The impropriety of the statements made by Attorneys General

Schneiderman and Healey and the other members of the Green 20 at the press conference

is likely surpassed by what they said behind closed doors.

67
     Id. at App. 20.
68
     Ex. II at App. 286.
69
     Ex. B at App. 25.
70
     Ex. M at App. 127.
71
     Id. at App. 126.
                                              15
         39.      During the morning of the press conference, the attorneys general (or their

respective staffs) attended two presentations. Those presentations were not announced

publicly, and they were not open to the press or general public. The identity of the

presenters and the titles of the presentations, however, were later released by the State of

Vermont in response to a request by a third party under that state’s Freedom of

Information Act.

         40.      The first presenter was Peter Frumhoff, the Director of Science and Policy

for the Union of Concerned Scientists.72 His subject was the “imperative of taking action

now on climate change.”73

         41.      According to the Union of Concerned Scientists, those who do not share

its views about climate change and responsive policy make it “difficult to achieve

meaningful solutions to global warming.”74 It accuses “[m]edia pundits, partisan think

tanks, and special interest groups” of being “contrarians,” who “downplay and distort the

evidence of climate change, demand policies that allow industries to continue polluting,

and attempt to undercut existing pollution standards.”75

         42.      Frumhoff has been targeting ExxonMobil since at least 2007. In that year,

Frumhoff contributed to a publication issued by the Union of Concerned Scientists, titled

“Smoke, Mirrors, and Hot Air: How ExxonMobil Uses Big Tobacco’s Tactics to

Manufacture Uncertainty on Climate Science.”76 This essay brainstormed strategies for




72
     Ex. O at App. 138.
73
     Ex. E at App. 70.
74
     Ex. P at App. 146.
75
     Id. at App. 146–47.
76
     Ex. Q at App. 160, 163.
                                              16
“[p]utting the [b]rakes” on ExxonMobil’s alleged “[d]isinformation [c]ampaign” on

climate change.77

         43.     Matthew Pawa hosted the second presentation on the topic of “climate

change litigation.”78 Pawa previously sued ExxonMobil and 23 other energy companies

for allegedly contributing to global warming and flooding.79 Mr. Pawa had hoped the

lawsuit would serve as “a potentially powerful means to change corporate behavior.”80

The court rebuffed Mr. Pawa’s gambit, however, finding that the regulation of

greenhouse gas emissions is “a political rather than a legal issue that needs to be resolved

by Congress and the executive branch rather than the courts.”81

         44.     Frumhoff and Pawa have sought for years to initiate and promote litigation

against energy companies in the service of their political agenda and for private profit. In

June 2012, a collection of special, private interests gathered in La Jolla, California, to

participate in a “Workshop on Climate Accountability, Public Opinion, and Legal

Strategies.”82    Frumhoff and Naomi Oreskes, then a professor at the University of

California, San Diego, “conceived” of this workshop and invited Pawa as a featured

speaker.83 The workshop’s goal was to consider “the viability of diverse strategies,

including the legal merits of targeting carbon producers (as opposed to carbon emitters)

for U.S.-focused climate mitigation.”84 During the conference, attendees accused energy

companies, including ExxonMobil, of “attempting to manufacture uncertainty about


77
     Id. at App. 166.
78
     Ex. E at App. 70.
79
     Native Vill. of Kivalina v. ExxonMobil Corp., 663 F. Supp. 2d 863, 869 (N.D. Cal. 2009), aff’d, 696
     F.3d 849 (9th Cir. 2012).
80
     Ex. C at App. 41.
81
     Id.
82
     Id. at App. 30.
83
     Id. at App. 41.
84
     Id. at App. 33.
                                                  17
global warming,”85 and they discussed a wide variety of legal strategies to combat the

industry’s alleged “efforts to defeat action on climate change.”86

         45.      The 2012 workshop’s attendees discussed at considerable length

“Strategies to Win Access to Internal Documents” of energy companies like

ExxonMobil.87 Many participants noted that “pressure from the courts offers the best

current hope for gaining the energy industry’s cooperation in converting to renewable

energy.”88 In addition, “lawyers at the workshop” suggested that “a single sympathetic

state attorney general might have substantial success in bringing key internal documents

to light.”89 They also saw civil litigation as a vehicle for accomplishing their goals, with

one commentator observing, “[e]ven if your ultimate goal might be to shut down a

company, you still might be wise to start out by asking for compensation for injured

parties.”90     The conference’s attendees were “nearly unanimous” regarding “the

importance of legal actions, both in wresting potentially useful internal documents from

the fossil fuel industry and, more broadly, in maintaining pressure on the industry that

could eventually lead to its support for legislative and regulatory responses to global

warming.”91

         46.      Oreskes, Frumhoff, and Pawa—key architects of the La Jolla strategy—

encouraged the Attorneys General to implement their plan of imposing burdens on the

energy industry to coerce it to adopt their climate agenda. In June 2015, Oreskes met

with New York Attorney General Eric Schneiderman to discuss the purported “history of


85
     Id. at App. 34–35.
86
     Id. at App. 35.
87
     Id. at App. 40–41, 56.
88
     Id. at App. 56–57.
89
     Id. at App. 40.
90
     Id. at App. 42.
91
     Id. at App. 56 (emphasis added).
                                            18
misinformation” of the energy industry, a theme she has been promoting since at least

2010.92 Oreskes and members from Frumhoff’s Union of Concerned Scientists attended

a similar meeting in Boston with the staff of attorneys general offices from a number of

states.93 At that meeting, Oreskes noted that there were “factual presentations about

climate science, history of climate disinformation and also a presentation by Sharon

Eubanks who had led the US Department of [J]ustice prosecution of tobacco industry

under the RICO statues.”94

         47.     In July 2015—just a few months before the New York Attorney General

commenced his investigation—Frumhoff boasted to fellow activists that he was exploring

“state-based approaches to holding fossil fuel companies legally accountable” and

anticipated “a strong basis for encouraging state (e.g., AG) action forward.”95 Even after

the press conference, Frumhoff continued to provide support and counsel to the Attorneys

General in this unlawful enterprise.96

         48.     During this time, Pawa implemented another strategy in the La Jolla

playbook—encouraging municipalities to commence public nuisance litigation against

energy companies like ExxonMobil. Specifically, in March 2015, Pawa sent a legal

memorandum encouraging California to pursue public nuisance litigation against

ExxonMobil and other energy companies to NextGen America, an organization founded

by California billionaire Tom Steyer to promote his political agenda.97                    In that

memorandum, Pawa claimed “to know that certain fossil fuel companies (most


92
     Ex. S7 at App. 546; Oreskes is the co-author of Merchants of Doubt: How a Handful of Scientists
     Obscured the Truth on Issues from Tobacco Smoke to Global Warming (2010).
93
     Id. at App. 544.
94
     Id. at App. 546.
95
     Ex. S8 at App. 548.
96
     Ex. S9 at App. 551.
97
     Ex. S10 at App. 553; Ex. S11 at App. 555.
                                                 19
notoriously ExxonMobil), have engaged in a campaign and conspiracy of deception and

denial on global warming.”98           Acknowledging the ulterior purpose motivating his

proposed litigation against energy companies, Pawa wrote, “simply proceeding to the

discovery phase of a global warming case would be significant . . . . Just as obtaining

such documents gave the Tobacco litigation an unstoppable momentum, here too

obtaining industry documents would be a remarkable achievement that would advance

the case and the cause.”99

          49.     Consistent with Pawa’s memorandum, a number of California

municipalities filed lawsuits in July 2017, asserting public nuisance claims against

ExxonMobil and other energy companies.100                 Pawa represents San Francisco and

Oakland, and, as public records released in December 2017 show, his firm stands to gain

a multi-billion dollar contingency fee as his agreement with the City of San Francisco—

released through public records requests—entitles his firm to 23.5% of any net monetary

recovery.101

          50.     It is no surprise that Pawa sent his legal strategy for California to Steyer,

who has repeatedly encouraged the federal government and state attorneys general to

investigate ExxonMobil.102 Steyer also has long bankrolled campaigns promoting the

policies favored by the Attorneys General.103

          51.     Evidence suggests that Attorney General Schneiderman communicated

with Steyer about campaign support in connection with his investigation of


98
      Ex. S12 at App. 567.
99
      Id. at App. 573.
100
      Ex. S13 at App. 577.
101
      Ex. S14 at App. 587.
102
      Ex. S16 at App. 611; Ex. S17 at App. 615 (job listing by Fahr LLC, an organization owned by Tom
      Steyer).
103
      Ex. S19 at App. 649; see also Ex. S20 at App. 653; Ex. S21 at App. 660.
                                                  20
ExxonMobil.104 Attorney General Schneiderman’s office emailed Steyer’s scheduler,

Erin Suhr, to follow up “on conversation re: company specific climate change

information” a mere five days after it subpoenaed ExxonMobil’s climate change

research.105 In March 2016, Attorney General Schneiderman also allegedly tried to

arrange a meeting with Steyer. The New York Post reports that this communication

reads, “Eric Schneiderman would like to have a call with Tom regarding support for his

race for governor .ௗ.ௗ. regarding Exxon case.”106

          52.       In January 2016, Pawa and a group of climate activists, including La Jolla

participant Sharon Eubanks, met at the Rockefeller Family Fund offices to discuss the

“[g]oals of an Exxon campaign.”107 The goals included:

                •   To establish in [the] public’s mind that Exxon is a corrupt
                    institution that has pushed humanity (and all creation) toward
                    climate chaos and grave harm.

                •   To delegitimize [ExxonMobil] as a political actor.

                •   To force officials to disassociate themselves from Exxon, their
                    money, and their historic opposition to climate progress, for
                    example by refusing campaign donations, refusing to take
                    meetings, calling for a price on carbon, etc.

                •   To drive divestment from Exxon.

                •   To drive Exxon & climate into [the] center of [the] 2016 election
                    cycle.108

This agenda to restrict and impair ExxonMobil’s freedoms of speech and association

cannot be legitimate objectives of any bona fide government-directed investigation or

litigation.


104
      Ex. S22 at App. 664.
105
      Id. at App. 666.
106
      Ex. S24 at App. 674.
107
      Ex. D at App. 67.
108
      Id.; see also Ex. U at App. 192–94.
                                                21
          53.     At the meeting, the activists also discussed “the main avenues for legal

actions & related campaigns,” including “AGs,” “DOJ,” and “Torts.”109 Among these

options, they considered which had the “best prospects” for (i) “successful action,” (ii)

“getting discovery,” and (iii) “creating scandal.”110

          54.     Shortly after this meeting, Pawa attempted to implement the “AGs” plan.

At least twice, he emailed the Vermont Attorney General’s Office news articles

criticizing ExxonMobil for purportedly deceiving the public about the effects of climate

change, including an opinion piece written by a member of the Rockefeller family in

which she explains why she donated her inherited ExxonMobil stock to support efforts to

combat global warming.111

          55.     After the January 2016 meeting, the Rockefeller Family Fund also

continued its efforts to “delegitimize” ExxonMobil. In March 2016, the Fund announced

that it would divest from all fossil fuel holdings, including ExxonMobil.112 The Fund

singled ExxonMobil out for purportedly “morally reprehensible conduct” and claimed

that “the company worked since the 1980s to confuse the public about climate change’s

march.”113

          56.     Public records also reveal that the Rockefeller Family Fund repeatedly

communicated with the New York Attorney General’s Office about climate change and

its investigation of ExxonMobil before the January 2016 meeting. In February 2015, the

New York Attorney General’s Office exchanged a dozen emails with the Fund



109
      Ex. S1 at App. 479.
110
      Id. at App. 480.
111
      Ex. S25 at App. 677; Ex. S26 at App. 679; Ex. S27 at App 681.
112
      Ex. S28 at App. 684.
113
      Id.
                                                    22
concerning the “activities of specific companies regarding climate change.”114                              The

Fund’s persistent lobbying paid off, which prompted the daughter of a Rockefeller

Family Fund’s director to announce on Twitter the day after Attorney General

Schneiderman issued his subpoena to ExxonMobil that she was “[s]o proud” of her father

“for helping make this happen #ExxonKnew.”115 (As her Twitter account shows,116 the

director’s daughter worked for Steyer’s NextGen, the organization that received Pawa’s

legal memorandum encouraging government litigation against ExxonMobil and other

energy companies in March 2015).117

          57.       Over a year later, in December 2016, the director of the Rockefeller

Family Fund finally admitted, after initially denying the connection, that the Fund had

financed the so-called investigative journalism that would later provide a pretext for the

Attorneys General’s improper investigations of ExxonMobil.118                                This supposed

investigative journalism by Inside Climate News and the Los Angeles Times—which the

Attorneys General have used as pretextual support for their investigations119—selectively

interpreted documents ExxonMobil had made publicly available in the archives of the

University of Texas-Austin.120              While the Attorneys General have suggested these

documents show ExxonMobil had advance, secret knowledge of climate change decades

ago, the documents in fact demonstrate that ExxonMobil’s climate research contained


114
      Ex. S29 at App. 688.
115
      Ex. S30 at App. 695.
116
      Id.
117
      See Paragraph 48.
118
      Ex. S31 at App. 704.
119
      Attorney General Healey has essentially admitted that this reporting spurred her investigation and has
      long cited it to support her claim that the investigation is valid. See ECF No. 43. Attorney General
      Schneiderman has not so directly cited this reporting, but it was reported in late 2015 that these articles
      prompted the New York investigation. Ex. L at App. 123.
120
      Ex. S33 at App. 720; Ex. S59 at App. 1293–94 (InsideClimate News admitting ExxonMobil’s
      projections were in the “mid-range” of what scientists predicted).
                                                       23
myriad uncertainties and was aligned with the research of scientists at leading institutions

at the time, including scientists at the Massachusetts Institute of Technology, the National

Academy of Science and the Environmental Protection Agency.121

          58.      The Rockefeller Family Fund also acknowledged that, before the

Attorneys General commenced their investigations, it had “informed [unnamed] state

attorneys general of [its] concern” about ExxonMobil’s statements on climate change and

was “encouraged by [Attorney General] Schneiderman’s interest.”122 On January 8,

2018, New York Magazine reported that the Rockefeller Family Fund director met with

Attorney General Schneiderman’s office in 2015 specifically to discuss ExxonMobil’s

purported climate deception and liability under the Martin Act.123

          59.      The investigations by the New York and Massachusetts Attorneys General

and the Green 20 press conference represented the culmination of Frumhoff, Pawa,

Oreskes, Steyer, the Rockefeller Family Fund, and other’s collective efforts to enlist state

law enforcement officers to join them in a quest to coerce political opponents to adopt

preferred policy responses to climate change and to obtain documents for private

lawsuits.

          60.      The attorneys general in attendance at the press conference understood

that the participation of Frumhoff and Pawa, if reported, could expose the private,

financial, and political interests behind the announced investigations. The day after the

conference, a reporter from The Wall Street Journal contacted Pawa.124                             Before



121
      See Ex. S60 at App. 1302; Ex. S3 at App. 494 (EPA Report from 1983 noting the possibility of a 5°C
      increase by 2100); Ex. S4 at App. 519 (NAS report from 1983 stating that “temperature increases of a
      couple degrees or so” were projected for the next century).
122
      Ex. S34 at App. 729 (emphasis omitted); see also Ex. S35 at App. 740.
123
      Ex. S63 at App. 1333.
124
      Ex. F at App. 80.
                                                     24
responding, Pawa dutifully asked Lemuel Srolovic, Chief of Attorney General

Schneiderman’s Environmental Protection Bureau, “[w]hat should I say if she asks if I

attended?”125 Mr. Srolovic—the Assistant Attorney General who had sent the New York

subpoena to ExxonMobil in November 2015—encouraged Pawa to conceal from the

press and the public the closed-door meetings. He responded, “[m]y ask is if you speak

to the reporter, to not confirm that you attended or otherwise discuss the event.”126 That

same day, Mr. Srolovic followed up with Frumhoff as well and emailed him

ExxonMobil’s press statement in response to the politically motivated press

conference.127

          61.      The press conference, the closed-door meetings with activists, and the

activists’ long-standing desire to obtain ExxonMobil’s “internal documents” as part of a

campaign to put “pressure on the industry,” inducing it to support “legislative and

regulatory responses to global warming,”128 form the partisan backdrop against which the

New York and Massachusetts investigations must be considered.

D.        The Attorneys General Attempt to Conceal Their Misuse of Power from the
          Public.

          62.      Recognizing the need to avoid public scrutiny, Attorneys General

Schneiderman, Healey, and fifteen others entered into an agreement pledging to conceal

from the public their activities and communications in furtherance of their political

agenda. In April and May 2016, the Green 20 executed a so-called “Climate Change

Coalition Common Interest Agreement,” which memorialized the twin goals of this illicit



125
      Id.
126
      Id.
127
      Ex. S36 at App. 755.
128
      Ex. C at App. 40, 56.
                                             25
enterprise.129 The first goal listed in the agreement, “limiting climate change,” reflected

the coalition’s focus on politics, not law enforcement.130 The second goal, “ensuring the

dissemination of accurate information about climate change,” confirmed the coalition’s

willingness to violate First Amendment rights to carry out its agenda.131 They appointed

themselves as arbiters of what information is “accurate” as regards climate change and

stood ready to use the full arsenal of law enforcement tools at their disposal against those

who did not toe their party line.

          63.     To conceal communications concerning this unconstitutional enterprise

from public disclosure, the signatories agreed to maintain the confidentiality of their

communications by pledging that, “unless required by law,” the parties “shall . . . refuse

to disclose” any “(1) information shared in organizing a meeting of the Parties on March

29, 2016, (2) information shared at and after the March 29 meeting . . . and

(3) information shared after the execution of this Agreement.”132 Under that agreement, a

member of the New York Attorney General’s staff has been “acting as a general

coordinator for the climate change record requests” under each state’s public records

requests laws.133

          64.     Attorney General Schneiderman’s efforts to conceal records concerning

that agreement in response to a public-records request have already resulted in a firm

judicial rebuke. The New York Supreme Court recently awarded attorney’s fees and

costs against the Attorney General for “lack[ing] a reasonable basis” for refusing to



129
      Ex. V at App. 196–214.
130
      Id. at App. 196.
131
      Id.
132
      Id. at App. 196–97
133
      Ex. S37 at 758.
                                            26
produce documents related to the Common Interest Agreement.134 Nevertheless, the

Attorney General continues to resist requests for communications with the Rockefeller

Family Fund related to his investigation of ExxonMobil.135             At the same time,

Schneiderman has bragged that he “has been winning most legal battles . . . despite

#Exxon’s ongoing efforts to thwart his investigation.”136

          65.      Another member of the coalition has gone so far as to concede the

political motives behind the coalition’s selective disclosures. The Vermont Attorney

General’s Office admitted that it conducts research into those seeking records about the

coalition’s activities, and upon learning of the requester’s affiliation with “coal or Exxon

or whatever,” the office “give[s] this some thought . . . before we share information with

this entity.”137

          66.      The Vermont Attorney General’s office has continued to rebuff efforts to

turn over information sought through public records requests, including a request for the

former Vermont Attorney General’s private email communications with the New York

Attorney General about his investigation of ExxonMobil.138 Most glaringly, the former

Vermont Attorney General failed to appear for a deposition about his private email use

concerning this subject.139      Even though a Vermont court subsequently ordered the

former Attorney General to appear for deposition,140 the former Attorney General

declined to answer a majority of questions when he finally appeared for the deposition.141



134
      Ex. S38 at App 764.
135
      See Ex. S39 at App. 772.
136
      Ex. S40 at App. 794.
137
      Ex. S41 at App. 804.
138
      Ex. S42 at App. 812.
139
      Ex. S43 at App. 818.
140
      Id.
141
      Ex. S44 at App. 821.
                                              27
          67.      The Vermont Attorney General’s Office has also resisted efforts to

produce emails that were circulated among climate activists and several state attorneys

general’s offices, including the offices of the New York and Massachusetts Attorneys

General. For example, in one email, a staff member of the New York Attorney General’s

office circulated to over a dozen other attorneys general’s offices an article about the

energy industry’s purported early knowledge of “CO2’s Role in Global Warming.”142

          68.      In December 2017, over the objection of the Vermont Attorney General’s

Office, a Vermont court ordered the release of these and other public records. The public

records reveal that, within a month of the March 29 press conference, Pawa and Frumhoff

continued to press for state-based investigations and litigations against the energy

industry.143 Mere days after the press conference, Pawa took the lead in mobilizing the

coalition of attorneys general and created an email list of “AG Folks” in order to “pass

along information that may be of interest to AGs on the issue of our time: climate

change.”144

          69.      Initially withheld Vermont public records also reveal a draft agenda for a

workshop called “Potential State Causes of Action Against Major Carbon Producers:

Scientific, Legal and Historical Perspectives” that was co-hosted by Frumhoff’s Union of

Concerned Scientists in the month following the press conference.145 “[S]enior staff from

state attorneys general offices in nearly a dozen states,”146 including Massachusetts and

New York,147 attended the workshop which sought to “[c]reate a ‘safe space’ for a frank


142
      Ex. S45 at App. 823.
143
      Energy & Envtl. Legal Inst. & Free Market Envtl. Law Clinic v. Att’y Gen. of Vt., No. 349-6-16 Wbcv
      (Vt. Super. Ct. Dec. 6, 2017).
144
      Ex. S46 at App. 830.
145
      Ex S47 at App. 832.
146
      Ex S48 at App. 838.
147
      Ex. S49 at App. 841.
                                                    28
exchange of approaches, ideas, strategies and questions pertaining to potential state

causes of action,” such as public nuisance claims, “against major carbon producers and

the cultural context in which such cases may be brought.”148 Panelists included several

climate activists, including Frumhoff, Oreskes, and Sharon Eubanks—an environmental

lawyer who has long supported applying the legal strategy against the tobacco industry to

litigation against the energy industry.149 During the workshop, Frumhoff led a panel on

“the case for state-based investigations and litigation” and participated in a discussion on

“sea level rise and coastal flooding” and how to “trac[e] impacts to carbon producers.”150

E.        Other State Attorneys General Condemn the Investigations as Unlawful.

          70.     The overtly political nature of the March 29 press conference drew a swift

and sharp rebuke from other state attorneys general who criticized the Green 20 for using

the power of law enforcement as a tool to muzzle public discourse about climate change.

The attorneys general of Alabama and Oklahoma stated that “scientific and political

debate” “should not be silenced with threats of criminal prosecution by those who believe

that their position is the only correct one and that all dissenting voices must therefore be

intimidated and coerced into silence.”151 They emphasized that “[i]t is inappropriate for

State Attorneys General to use the power of their office to attempt to silence core

political speech on one of the major policy debates of our time.”152

          71.     The Louisiana Attorney General similarly observed that “[i]t is one thing

to use the legal system to pursue public policy outcomes; but it is quite another to use

prosecutorial weapons to intimidate critics, silence free speech, or chill the robust

148
      Ex S47 at App. 832.
149
      Id.
150
      Id.
151
      Ex. X at App. 225.
152
      Id.
                                              29
exchange of ideas.”153         Likewise, the Kansas Attorney General questioned the

“unprecedented” and “strictly partisan nature of announcing state ‘law enforcement’

operations in the presence of a former vice president of the United State[s] who,

presumably [as a private citizen], has no role in the enforcement of the 17 states’

securities or consumer protection laws.”154         The West Virginia Attorney General

criticized the attorneys general for “abusing the powers of their office” and stated that the

desire to “eliminate fossil fuels . . . should not be driving any legal activity” and that it

was improper to “use the power of the office of attorney general to silence [] critics.”155

          72.     In addition, on June 15, 2016, attorneys general from thirteen states wrote

a letter to their “Fellow Attorneys General,” in which they explained that the Green 20’s

effort “to police the global warming debate through the power of the subpoena is a grave

mistake” because “[u]sing law enforcement authority to resolve a public policy debate

undermines the trust invested in our offices and threatens free speech.”156 The thirteen

attorneys further described the Green 20’s investigations as “far from routine” because

(i) they “target[] a particular type of market participant,” namely energy companies;

(ii) the Green 20 had aligned itself “with the competitors of [its] investigative targets”;

and (iii) “the investigation implicates an ongoing public policy debate.”157 In conclusion,

they asked their fellow attorneys general to “[s]top policing viewpoints.”158

          73.     The actions of Defendants and their Green 20 allies caught the eye of

Congress. The Committee on Science, Space, and Technology of the United States



153
      Ex. Y at App. 227.
154
      Ex. QQ at App. 435.
155
      Ex. RR at App. 438–40.
156
      Ex. SS at App. 444.
157
      Id.
158
      Id. at App. 447.
                                              30
House of Representatives launched an inquiry into the investigations undertaken by the

Green 20.159 That committee was “concerned that these efforts [of the Green 20] to

silence speech are based on political theater rather than legal or scientific arguments, and

that they run counter to an attorney general’s duty to serve as the guardian of the legal

rights of the citizens and to assert, protect, and defend the rights of the people.”160

Perceiving a need to provide “oversight” of what it described as “a coordinated attempt to

attack the First Amendment rights of American citizens,” the Committee requested the

production of certain records and information from the attorneys general.161            The

attorneys general have thus far refused to voluntarily cooperate with the inquiry.162

          74.      After Attorney General Schneiderman refused to turn over documents

requested by the House Committee and criticized its “unfounded claims about the

NYOAG’s motives,”163 the House Committee issued subpoenas to Attorney General

Schneiderman, Attorney General Healey, and eight environmental organizations in order

to “obtain documents related to coordinated efforts to deprive companies, nonprofit

organizations, scientists and scholars of their First Amendment rights.”164 It further

criticized the attorneys general for “hav[ing] appointed themselves to decide what is valid

and what is invalid regarding climate change.”165

          75.      Several senators urged former United States Attorney General Loretta

Lynch to confirm that the Department of Justice is not investigating, and will not

investigate, United States citizens or corporations on the basis of their views on climate


159
      Ex. Z at App. 229.
160
      Id. (internal quotation marks omitted).
161
      Id. at App. 232.
162
      See, e.g., Ex. TT at App. 449; Ex. UU at App. 453.
163
      Ex. AA at App. 237.
164
      Ex. BB at App. 240.
165
      Id.
                                                     31
change.166 The senators observed that the Green 20’s investigations “provide disturbing

confirmation that government officials at all levels are threatening to wield the sword of

law enforcement to silence debate on climate change.”167 The letter concluded by asking

Attorney General Lynch to explain the steps she is taking “to prevent state law

enforcement officers from unconstitutionally harassing private entities or individuals

simply for disagreeing with the prevailing climate change orthodoxy.”168

F.        The Subpoena and the CID Reflect the Improper Political Objectives of the
          Green 20 Coalition.

          76.     The twin goals of the Green 20—advancing a political agenda and

trammeling constitutional rights in the process—are fully reflected in the subpoenas and

the CID themselves. These instruments purport to investigate easily debunked theories,

thereby revealing them as nothing more than thinly veiled pretexts for unlawful state

action.

          The New York Subpoenas

          77.     Attorney General Schneiderman is authorized to issue a subpoena only if

(i) there is “some factual basis shown to support the subpoena”;169 and (ii) the

information sought “bear[s] a reasonable relation to the subject matter under investigation

and the public purpose to be served.”170 Neither standard is met here.

          78.     The initial New York subpoena, issued on November 4, 2015, purports to

investigate whether ExxonMobil violated New York State Executive Law Article 5,

Section 63(12), General Business Law Article 22-A or 23-A and “any related violation,



166
      Ex. DD at App. 248.
167
      Id.
168
      Id.
169
      Napatco, Inc. v. Lefkowitz, 43 N.Y.2d 884, 885–86 (1978).
170
      Myerson v. Lentini Bros. Moving & Storage Co., 33 N.Y.2d 250, 256 (1973).
                                                   32
or any matter which the Attorney General deems pertinent thereto.”171 These statutes

have at most a six-year limitations period.172

          79.      During the six-year limitations period, however, ExxonMobil made no

statements that could give rise to fraud as alleged in the subpoena. For more than a

decade, ExxonMobil has publicly acknowledged that climate change presents significant

risks that could affect its business.             For example, ExxonMobil’s 2006 Corporate

Citizenship Report recognized that “the risk to society and ecosystems from rising

greenhouse gas emissions could prove to be significant” and reasoned that “strategies that

address the risk need to be developed and implemented.”173                       In addition, in 2002,

ExxonMobil, along with three other companies, helped launch the Global Climate and

Energy Project at Stanford University, which has a mission of “conduct[ing] fundamental

research on technologies that will permit the development of global energy systems with

significantly lower greenhouse gas emissions.”174

          80.      ExxonMobil has also discussed these risks in its public SEC filings. For

example, in its 2006 10-K, ExxonMobil stated that “laws and regulations related to . . .

risks of global climate change” “have been, and may in the future” continue to impact its

operations.175 Similarly, in its 2015 10-K, ExxonMobil noted that the “risk of climate

change” and “current and pending greenhouse gas regulations” may increase its

“compliance costs.”176            Long before the six-year statute of limitations period,



171
      Ex. EE at App. 251.
172
      See, e.g., State ex rel. Spitzer v. Daicel Chem. Indus., Ltd., 840 N.Y.S.2d 8, 11–12 (1st Dep’t 2007);
      Podraza v. Carriero, 630 N.Y.S.2d 163, 169 (4th Dep’t 1995); State v. Bronxville Glen I Assocs., 581
      N.Y.S.2d 189, 190 (1st Dep’t 1992).
173
      Ex. H at App. 103.
174
      Ex. FF at App. 270.
175
      Ex. GG at App. 277–78.
176
      Ex. HH at App. 284.
                                                     33
ExxonMobil disclosed and acknowledged the risks that supposedly gave rise to Attorney

General Schneiderman’s investigation.

          81.      Notwithstanding that six-year limitations period and the absence of any

conduct within that timeframe that could give rise to a statutory violation, the document

requests in the subpoena span 39 years and extend to nearly every document ExxonMobil

has ever created that in any way concerns climate change. For example, the subpoena

demands “[a]ll Documents and Communications” from 1977 to the present,

“[c]oncerning any research, analysis, assessment, evaluation, modelling or other

consideration performed by You, on Your behalf, or with funding provided by You

Concerning the causes of Climate Change.”177

          82.      The subpoena includes 10 other similarly sweeping requests, such as (i) a

demand for all documents and communications that ExxonMobil has produced since

1977 relating to “the impacts of Climate Change”; and (ii) exemplars of all

“advertisements, flyers, promotional materials, and informational materials of any type”

that ExxonMobil has produced in the last 11 years concerning climate change.178 Other

requests target Attorney General Schneiderman’s perceived political opponents in the

climate change debate by demanding ExxonMobil’s communications with trade

associations and industry groups that seek to promote oil and gas interests.179

          83.      In response to some of these requests, ExxonMobil asserted First

Amendment privileges, including in connection with ExxonMobil scientists’ participation

in non-profit research organizations.



177
      Ex. EE at App. 257–58 (Request No. 1).
178
      Id. at App. 258–59 (Request Nos. 2, 9).
179
      Id. at App. 258 (Request No. 6).
                                                34
          84.      Moreover, almost all of the sweeping demands in the subpoena reach far

beyond conduct bearing any connection to the State of New York. Ten of the eleven

document requests make blanket demands for all of ExxonMobil’s documents or

communications on a broad topic, with no attempt to restrict the scope of production to

documents or communications having any connection to New York.180 Only two of the

requests even mention New York.181 And, while the subpoena seeks ExxonMobil’s

communications with five named organizations, only one of them is based in New

York.182

          85.      After receiving hundreds of thousands of documents from over 100

ExxonMobil custodians in response to its initial subpoena, the New York Attorney

General’s Office has issued additional subpoenas seeking extensive numbers of

documents and testimony from a number of witnesses. When considering ExxonMobil’s

challenge to one of those subpoenas, New York Supreme Court Justice Barry Ostrager

remarked that the New York Attorney General’s request for documents went “way

beyond proportionality.”183

          86.      The New York Attorney General’s Office further served five testimonial

subpoenas for “fact witnesses” on May 8, 2017, as well as a subpoena that purports to

compel the production of documents pertaining to oil and gas reserves and the

impairment of assets. Unsatisfied even with the testimony of those witnesses, the New

York Attorney General has continued to subpoena additional individuals. On July 18,




180
      Id. at App. 258–59 (Request Nos. 1, 10).
181
      Id. at App. 259 (Request Nos. 9, 11).
182
      Id. at App. 258 (Request No. 6).
183
      Ex. S50 at App. 897.
                                                 35
2017, the Attorney General’s Office issued another testimonial subpoena, and on

September 14, 2017 the Office served seven more testimonial subpoenas.

          The Massachusetts CID

          87.     Attorney General Healey served the CID on ExxonMobil’s registered

agent in Suffolk County, Massachusetts, on April 19, 2016. According to the CID, there

is “a pending investigation concerning [ExxonMobil’s] potential violations of [MASS.

GEN. LAWS] ch. 93A, § 2.”184              That statute prohibits “unfair or deceptive acts or

practices” in “trade or commerce”185 and has a four-year statute of limitations.186 The

CID specifies two types of transactions under investigation: ExxonMobil’s (i) “marketing

and/or sale of energy and other fossil fuel derived products to consumers in the

Commonwealth,” and (ii) “marketing and/or sale of securities” to Massachusetts

investors.187 The requested documents pertain largely to information related to climate

change in the possession of ExxonMobil in Texas where it is headquartered and

maintains its principal place of business.

          88.     ExxonMobil could not have committed the possible offenses that the CID

purports to investigate for at least two reasons. First, at no point during the past five

years—more than one year before the limitations period began—has ExxonMobil (i) sold

fossil fuel derived products to consumers in Massachusetts, or (ii) owned or operated a

single retail store or gas station in the Commonwealth.188 Second, ExxonMobil has not

sold any form of equity to the general public in Massachusetts since at least 2011, which


184
      Ex. II at App. 286.
185
      MASS. GEN. LAWS ch. 93A, §2(a).
186
      MASS. GEN. LAWS ch. 260, § 5A.
187
      Ex. II at App. 286.
188
      Any service station that sells fossil fuel derived products under an “Exxon” or “Mobil” banner is
      owned and operated independently. In addition, distribution facilities in Massachusetts, including
      Everett Terminal, have not sold products to consumers during the limitations period.
                                                   36
is also well beyond the limitations period.189 In the past decade, ExxonMobil has sold

debt only to underwriters outside the Commonwealth, and ExxonMobil did not market

those offerings to Massachusetts investors.190

           89.     The CID’s focus on events, activities, and records outside of

Massachusetts is demonstrated by the items it demands that ExxonMobil search for and

produce. For example, the CID demands documents that relate to or support 11 specific

statements.191 None of those statements were made in Massachusetts.192 The CID also

seeks ExxonMobil’s communications with 12 named organizations,193 but only one of

these organizations has an office in Massachusetts and ExxonMobil’s communications

with the other 11 organizations likely occurred outside of Massachusetts. Finally, the

CID requests all documents and communications related to ExxonMobil’s publicly issued

reports, press releases, and Securities and Exchange Commission (“SEC”) filings, which

were issued outside of Massachusetts,194 and all documents and communications related

to ExxonMobil’s climate change research, which also occurred outside of

Massachusetts.195

           90.     The absence of any factual basis for investigating ExxonMobil’s alleged

fraud is glaring, particularly in light of the heavy burden imposed by the CID. Spanning

25 pages and containing 38 broadly worded document requests, the CID unreasonably

demands production of essentially any and all communications and documents relating to

189
      Ex. JJ at App. 317.
190
       Id. This is subject to one exception. During the limitations period, ExxonMobil has sold short-term,
       fixed-rate notes, which mature in 270 days or less, to institutional investors in Massachusetts, in
       specially exempted commercial paper transactions. Id.; see MASS. GEN. LAWS ch. 110A, § 402(a)(10);
       see also 15 U. S. C. § 77c(a)(3).
191
       Ex. II at App. 299–300 (Request Nos. 8–11).
192
       Id. (Request Nos. 8–11).
193
       Id. at App. 298 (Request No. 5).
194
       Id. at App. 301–03 (Request Nos. 15–16, 19, 22).
195
       Id. at App. 297–98, 300–03 (Request Nos. 1–4, 14, 17, 22).
                                                     37
climate change that ExxonMobil has produced or received over the last 40 years. For

example, the CID requests all documents and communications “concerning Exxon’s

development, planning, implementation, review, and analysis of research efforts to study

CO2 emissions . . . and the effects of these emissions on the Climate” since 1976 and all

documents and communications concerning “any research, study, and/or evaluation by

ExxonMobil and/or any other fossil fuel company regarding the Climate Change

Radiative Forcing Effect of” methane since 2010.196 It also requests all documents and

communications concerning papers and presentations given by ExxonMobil scientists

since 1976197 and demands production of ExxonMobil’s climate change related speeches,

public reports, press releases, and SEC filings over the last 20 years.198 Moreover, it fails

to reasonably describe several categories of documents by, for example, requesting

documents related to ExxonMobil’s “awareness,” “internal consideration,” and “decision

making” with respect to certain climate change matters.199

          91.      The CID’s narrower requests, however, are in some instances more

troubling than its overly broad ones. They appear to target groups simply because they

hold views with which Attorney General Healey disagrees. All 12 organizations with

whom ExxonMobil is directed to produce communications have been identified by

environmental advocacy groups as opponents of certain policies addressing climate

change or “deniers” of the science in support of climate change.200 The CID also targets


196
      Id. at App. 297, 302 (Request Nos. 1, 17).
197
      Id. at App. 297–98. (Request Nos. 2–4).
198
      Id. at App. 299 (Request No. 8 (all documents since April 1, 1997)); id. at App. 302–03 (Request No.
      22 (all documents since 2006)); id. at App. 299–302 (Request Nos. 9–12, 14–16, 19 (all documents
      since 2010)). The CID also demands the testimony of ExxonMobil officers, directors, or managing
      agents who can testify about a variety of subjects, including “[a]ll topics covered” in the CID. Id. at
      App. 306 (Schedule B).
199
      Id. at App. 298–99, 302 (Request Nos. 7–8, 18).
200
      See, e.g., Ex. VV at App. 455–57.
                                                     38
statements that are not in accord with the Green 20’s preferred views on climate change.

These include statements of pure opinion on policy, such as the suggestion that “[i]ssues

such as global poverty [are] more pressing than climate change, and billions of people

without access to energy would benefit from oil and gas supplies.”201

G.        Attorney General Schneiderman Shifts Investigative Theories in a Search for
          Leverage over ExxonMobil in a Public Policy Debate.

          92.      After receiving Attorney General Schneiderman’s subpoena, ExxonMobil

made a good-faith effort to comply with his request for information about its climate

change research in the 1970s and 1980s. ExxonMobil provided his office with well over

one million pages of documents, at substantial cost to the Company, with the expectation

that a fair and impartial investigation would be conducted.                     In September 2016, a

spokesman for Attorney General Schneiderman stated that ExxonMobil’s “historic

climate change research” was no longer “the focus of this investigation.”202

          93.      Rather than close the investigation, however, Attorney General

Schneiderman simply unveiled another theory. As he explained in a lengthy interview

published in The New York Times, Attorney General Schneiderman focused instead on

the so-called “stranded assets theory.”                His office intended to examine whether

ExxonMobil had overstated its oil and gas reserves and assets by not accounting for

“global efforts to address climate change” that might require it in the future “to leave

enormous amounts of oil reserves in the ground”—i.e., cause the assets to be

“stranded.”203 Without offering—or possessing—any supporting evidence whatsoever,


201
      See, e.g., Ex. II at App. 299–300 (Request No. 9). Further demonstrating that this type of statement is
      clearly an expression of a policy opinion, an Op-ed appeared in the Wall Street Journal recently
      making this same argument. Ex. S61 at App. 1311–14.
202
      Ex. KK at App. 321.
203
      Ex. MM at App. 351.
                                                     39
Attorney General Schneiderman inappropriately opined that there “may be massive

securities fraud” at ExxonMobil based on its estimation of proved reserves and the

valuation of its assets.204

          94.      In a more recent shift in theory, Attorney General Schneiderman has

begun a focus on the impairment of long-lived assets.205

H.        An Investigation of ExxonMobil’s Reporting of Oil and Gas Reserves and
          Assets Is a Thinly Veiled Pretext.

          95.      Attorney General Schneiderman’s decision to investigate ExxonMobil’s

reserves estimates under a stranded asset theory is particularly egregious because it

cannot be reconciled with binding regulations issued by the SEC, which apply strict

guidelines to the estimation of proved reserves.

          96.      Those regulations prohibit companies like ExxonMobil from considering

the impact of future regulations when estimating reserves. To the contrary, they require

ExxonMobil to calculate its proved reserves in light of “existing economic conditions,

operating methods, and government regulations.”206 The SEC adopted that definition of

proved reserves as part of its efforts to provide investors with a “comprehensive

understanding of oil and gas reserves, which should help investors evaluate the relative

value of oil and gas companies.”207 The SEC’s definition of proved oil and gas reserves

thus reflects its reasoned judgment about how best to supply investors with information

about the relative value of energy companies, as well as its balancing of competing

priorities, such as the agency’s desire for comprehensive disclosures, that are not unduly


204
       Id.
205
      Ex. S2 at App. 482.
206
      17 C.F.R. § 210.4–10(a) (emphasis added).
207
       Modernization of Oil & Gas Reporting, SEC Release No. 78, File No. S7-15-08, 2008 WL 5423153, at
       *66 (Dec. 31, 2008).
                                                   40
burdensome, and which investors can easily compare. Attorney General Schneiderman’s

theory of “massive securities fraud” in ExxonMobil’s reported reserves cannot be

reconciled with binding SEC regulations about how those reserves must be reported.

           97.      The same rationale applies to Attorney General Schneiderman’s purported

investigation of the impairment of ExxonMobil’s assets.                        The SEC recognizes as

authoritative the accounting standards issued by the Financial Accounting Standards

Board (“FASB”).208 The FASB’s rules concerning the impairment of assets require

ExxonMobil to “incorporate [its] own assumptions” about future events when deciding

whether its assets are impaired.209 Contravening those rules, the Attorney General’s

theory requires that ExxonMobil adopt his assumptions about the likelihood of possible

future climate change regulations and then incorporate those assumptions into its

determination of whether an asset has been impaired. Attorney General Schneiderman

cannot hold ExxonMobil liable for complying with federal law.

           98.      Attorney General Healey’s investigation also purports to encompass the

same unsound theory of fraud.210 The decision to embrace this theory speaks volumes

about the pretextual nature of the investigations being conducted by Attorneys General

Schneiderman and Healey.               To read the relevant SEC rules is to understand why

ExxonMobil may not account for future climate change regulations when calculating its

proved reserves. And to read the applicable accounting standards is to understand why it

is impermissible for the Attorneys General to impose their assumptions about the

208
      See Commission Statement of Policy Reaffirming the Status of the FASB as a Designated Private-
       Sector Standard Setter, 68 Fed. Reg. 23,333–401 (May 1, 2003).
209
       See FASB Accounting Standards Codification 360-10-35-30; see also Statement of Financial
       Accounting Standards No. 144 ¶ 17.
210
       Ex. NN at App. 367, 372; ECF. No. 43 (“If substantial portions of Exxon’s vast fossil fuel reserves are
       unable to be burned due to carbon dioxide emissions limits put in place to stabilize global average
       temperature, those assets—valued in the billions—will be stranded, placing shareholder value at
       risk.”).
                                                      41
financial impact of possible future climate change regulations on companies that are

required to develop their own independent assumptions. The Attorneys General’s claims

that they are conducting a bona fide investigation premised on ExxonMobil’s supposed

failure to account for the Attorneys General’s expectations regarding the financial impact

of future regulations thus cannot be credited.

         99.     Their true objectives are clear: to fish indiscriminately through

ExxonMobil’s records with the hope of finding some violation of some law that one of

them might be empowered to enforce, or otherwise to harass ExxonMobil into endorsing

the Green 20’s policy views regarding how the United States should respond to climate

change.

         100.    The desire of Attorneys General Schneiderman and Healey to impose

liability on ExxonMobil for complying with SEC disclosure requirements, and the

accounting methodologies incorporated in them, would create a direct conflict with

federal law. Even if the New York or Massachusetts Attorneys General were to seek

only to layer additional disclosure requirements beyond those imposed by the SEC, this

would frustrate, and pose an obstacle to, Congress’s and the SEC’s efforts to create a

uniform market for securities and provide consistent metrics by which investors can

measure oil and gas companies on a relative basis.

I.       ExxonMobil Files Suit to Protect Its Rights.

         101.    ExxonMobil has challenged members of the Green 20 for violating its

constitutional rights. Attorney General Walker issued a subpoena to ExxonMobil on

March 15, 2016.211 ExxonMobil responded by seeking a declaratory judgment that

Attorney General Walker’s subpoena was illegal and unenforceable because it violated

211
      Ex. WW at App. 459–77.
                                            42
ExxonMobil’s rights under the United States and Texas constitutions.212

          102.    The Attorneys General of Texas and Alabama intervened in that action in

an effort to protect the constitutional rights of their citizens. They criticized Attorney

General Walker for undertaking an investigation “driven by ideology, and not law.”213

The Texas Attorney General called Attorney General Walker’s purported investigation “a

fishing expedition of the worst kind” and recognized it as “an effort to punish Exxon for

daring to hold an opinion on climate change that differs from that of radical

environmentalists.”214 The Alabama Attorney General echoed those sentiments, stating

that the pending action in Texas “is more than just a free speech case. It is a battle over

whether a government official has a right to launch a criminal investigation against

anyone who doesn’t share his radical views.”215

          103.    On June 30, 2016, Attorney General Walker and ExxonMobil entered into

a joint stipulation of dismissal, whereby the Attorney General agreed to withdraw his

subpoena and ExxonMobil agreed to withdraw its litigation challenging the subpoena.

          104.    ExxonMobil commenced this action in the Northern District of Texas on

June 15, 2016, seeking a preliminary injunction that would bar Attorney General Healey

from enforcing the CID.          In an attempt to defend Attorney General Healey’s

constitutionally infirm CID, Attorney General Schneiderman, along with other attorneys

general, filed an amicus brief on August 8, 2016.216 They argued that Attorney General




212
      Ex. LL at App. 323–49.
213
      Ex. OO at App. 395.
214
      Ex. CC at App. 244–45.
215
      Ex. W at App. 216.
216
      ECF No. 47.
                                             43
Healey has a “compelling interest in the traditional authority” of her office “to investigate

and combat violations of state law.”217

         105.    Recognizing that there was nothing “traditional” about Attorney General

Healey’s use of state power, attorneys general from eleven states filed an amicus brief in

support of ExxonMobil’s preliminary injunction motion.218 “As chief legal officers” of

their respective states, they explained that their investigative power “does not include the

right to engage in unrestrained, investigative excursions to promulgate a social ideology,

or chill the expression of points of view, in international policy debates.”219 As a result,

they noted that “[u]sing law enforcement authority to resolve a public policy debate

undermines the trust invested in our offices and threatens free speech.”220            They

concluded, “Regrettably, history is embroiled with examples where the legitimate

exercise of law enforcement is soiled with political ends rather than legal ones.

Massachusetts seeks to repeat[] that unfortunate history. That the statements and

workings of the ‘AG’s United for Clean Power’ are entirely one-sided, and target only

certain participants in the climate change debate, speaks loudly enough.”221

         106.    On November 10, 2016, ExxonMobil filed its First Amended Complaint

which (i) joined the Attorney General of New York as a defendant and (ii) added new

claims of conspiracy and federal preemption.

         107.    The allegations in ExxonMobil’s lawsuit against Attorneys General

Schneiderman and Healey were sufficiently compelling that Northern District of Texas



217
      Id.at 11.
218
      ECF No. 63-2.
219
      Id. at 3.
220
      Id.
221
      Id. at 11.
                                             44
Judge Ed Kinkeade ordered discovery on the Attorneys General’s bad faith.222

Explaining that decision, Judge Kinkeade expressed “concern” that “the anticipatory

nature of Attorney General Healey’s remarks” at the March 29 press conference “about

the outcome of the Exxon investigation” and “Attorney General Healey’s actions leading

up to the issuance of the CID” present the question of whether Attorney General Healey

exhibited “bias or prejudgment about what the investigation of Exxon would discover.”223

Judge Kinkeade reaffirmed that conclusion in a subsequent order, where he expressed

concern that the investigations conducted by Attorneys General Schneiderman and

Healey may be means “to further their personal agendas by using the vast power of the

government to silence the voices of all those who disagree with them.”224

          108.    In early 2017, ExxonMobil’s lawsuit was transferred to the Southern

District of New York—the venue of the March 2016 press conference—with Judge

Kinkeade’s conclusion that “[t]he merits of each of Exxon’s claims involve important

issues that should be determined by a court.”225

          109.    In June 2017, attorneys general from twelve states filed another amicus

brief in support of ExxonMobil.226 While recognizing that they may use their subpoena

power “to identify and remedy unlawful conduct,” these attorneys general explained that

“[t]his power, however, does not include the right to engage in unrestrained, pretextual

investigative excursions to promote one side of an international public policy debate, or




222
      ECF No. 73. In December 2016, this order was stayed pending briefing on the issue of personal
      jurisdiction. ECF Nos. 163, 164. In March 2017, the federal judge transferred the action to the
      Southern District of New York. ECF No. 180. Since then, discovery has been stayed indefinitely.
223
      ECF No. 73 at 3–5.
224
      ECF No. 180 at 5.
225
      Id. at 2.
226
      ECF No. 192-3.
                                                  45
chill the expression of viewpoints in those debates.”227         They further explained,

“Defendants are not using their power in an impartial manner.             Rather, they are

embracing one side of a multi-faceted and robust policy debate, and simultaneously

seeking to censor opposing viewpoints. This is bad faith.”228

              THE INVESTIGATIONS VIOLATE EXXONMOBIL’S RIGHTS

           110.   The facts recited above demonstrate the pretextual nature of the stated

reasons for the Attorneys General’s investigations. The statements Attorneys General

Schneiderman and Healey made at (and after) the press conference, the climate change

coalition common interest agreement, and other documents in the public record reveal the

improper purpose of the investigations.      The Attorneys General seek to change the

political calculus surrounding public discourse about climate policy by (1) targeting

speech that the Attorneys General perceive to advance political viewpoints on climate

change that differ from their own, and (2) exposing ExxonMobil’s documents that may

be politically useful to climate activists aligned with the Attorneys General’s agenda.

           111.   Neither Attorney General Schneiderman nor Attorney General Healey

(nor, indeed, any other public official) may use the power of the state to prescribe what

shall be orthodox in matters of public concern. It is improper under the United States and

Texas Constitutions for state governments to restrict the range of permissible viewpoints

by commencing investigations against those identified with disfavored policy positions.

Such viewpoint discrimination violates the First Amendment.

           112.   It follows from the political character of the subpoena and the CID and

their remarkably broad scope that they also violate the Fourth Amendment.             Their


227
      Id. at 8.
228
      Id. at 9.
                                             46
burdensome demands for irrelevant records violate the Fourth Amendment’s

reasonableness requirement, as well as its prohibition on fishing expeditions. Indeed, the

evolving justifications for the New York and Massachusetts inquiries confirm that they

are investigations driven by the identity of the target, not any good faith belief that a law

was broken.

          113.    The investigations also fail to meet the requirements of due process.

Attorneys General Schneiderman and Healey have publicly declared not only that they

believe ExxonMobil and other energy companies pose an existential risk to the planet,

but also the improper purpose of their investigations: to pressure ExxonMobil to support

polices the Attorneys General favor in the public debate regarding climate change. Even

worse, Attorney General Schneiderman has publicly accused ExxonMobil of engaging in

a “massive securities fraud.” Attorney General Healey has also declared, before her

investigation even began, that she knew how it would end: with a finding that

ExxonMobil violated the law.229 The improper political bias that inspired the New York

and Massachusetts investigations disqualifies Attorneys General Schneiderman and

Healey from serving as the disinterested prosecutors required by the Constitution.

          114.    In the rush to fill what Attorney General Schneiderman described as a

“[legislative] breach” in Congress regarding climate change, both he and Attorney

General Healey have also openly and intentionally infringed on Congress’s powers to

regulate interstate commerce. Their investigations seek to regulate speech and conduct

that occur almost entirely outside of New York and Massachusetts. Where a state seeks

to regulate and burden out-of-state speech, as the investigations do here, the state



229
      Ex. B at App. 20–21.
                                             47
improperly encroaches on Congress’s exclusive authority to regulate interstate commerce

and violates the Dormant Commerce Clause.

       115.    The Attorneys General’s focus on ExxonMobil’s reporting of proved

reserves and assets is equally impermissible. They seek to hold ExxonMobil liable for

not taking into account possible future regulations concerning climate change and carbon

emissions when estimating proved reserves and reporting assets. But that theory cannot

be reconciled with the SEC’s requirement that ExxonMobil calculate its proved reserves

based only on “existing” regulations, not future regulations.           This facet of the

investigation, therefore, impermissibly conflicts with, and poses an obstacle to, the goals

and purposes of federal law. That conflict is also present in the Attorneys General’s

investigation of how ExxonMobil determines under binding accounting rules whether an

asset has become impaired.

       116.    It is equally improper under Texas common law for litigants to misuse

legal process for an objective other than the one for which the process is intended. The

Attorneys General are misusing process to apply pressure on perceived political

opponents to alter their views on a matter of public concern. Such conduct constitutes an

abuse of process in violation of the common law of Texas.

       117.    Participation in a conspiracy in furtherance of either objective

(constitutional violations and abuse of process) is unlawful in its own right.

       118.    ExxonMobil asserts the claims herein based on the facts available to it in

the public record from, among other things, press accounts and freedom of information

requests made by third parties.       ExxonMobil anticipates that discovery from the




                                             48
Attorneys General, as well as third parties, will reveal substantial additional evidence in

support of its claims.

          EXXONMOBIL HAS BEEN INJURED BY THE INVESTIGATIONS

          119.     The climate change investigations have injured, are injuring, and will

continue to injure ExxonMobil.

          120.     ExxonMobil is an active participant in public discourse about climate

change and climate policy. It has engaged in these discussions for decades, participating

in the Intergovernmental Panel on Climate Change since its inception and contributing to

every report issued by the organization since 1995. For more than a decade, ExxonMobil

has widely and publicly confirmed that it “recognize[s] that the risk of climate change

and its potential impacts on society and ecosystems may prove to be significant.”230

ExxonMobil has also publicly advocated a tax on carbon emissions since 2009.231

          121.     In conducting its business, ExxonMobil addresses the potential for future

climate policy by applying proxy cost of carbon mechanisms, which seek to reflect

potential policies governments may employ related to the exploration, development,

production, transportation or use of carbon-based fuels.232 This cost, which in some

regions may approach $80 per ton by 2040, has been included in ExxonMobil’s Outlook

for Energy for several years.233 Further, ExxonMobil requires all of its business lines to

include, where appropriate, an estimate of greenhouse gas-related emissions costs in their

economics when seeking funding for capital investments.234


230
      Ex. G at App. 93; see also Ex. H at App. 103 (“Because the risk to society and ecosystems from rising
      greenhouse gas emissions could prove to be significant, strategies that address the risk need to be
      developed and implemented.”).
231
      Ex. T at App. 182.
232
      Id. at App. 190.
233
      Id.
234
      Id.
                                                     49
          122.    For the past decade, through its annual Outlook for Energy publication,

ExxonMobil has sought to “promote better understanding of the issues shaping the

world’s energy future”—including how best to balance and manage concerns regarding

the risks posed by climate change and the ever-growing energy needs of an increasing

global middle class.235       In its 2014 Outlook for Energy, ExxonMobil expressed its

forward-looking view that energy demand from both traditional and renewable sources is

expected to rise for the foreseeable future. By the year 2040, ExxonMobil stated that it

expects to see “2 billion more people on the planet,” a “130 percent larger global

economy,” and “about 35 percent greater demand for energy.”236                  The company

explained that, although renewables “will grow by close to 60 percent,” demand for

natural gas and oil will also grow by “65 percent” and “25 percent,” respectively.237

“The need for energy will continue to grow as economies expand, living standards rise

and the world’s population grows,” ExxonMobil said. With respect to climate policy,

ExxonMobil wrote:

                  To meet this demand in the most effective way, none of our energy
                  options should be arbitrarily denied, dismissed, penalized or promoted.
                  And free trade opportunities should be facilitated – not curtailed. . . . Free
                  markets supported by reliable public policies remain essential to creating
                  economic opportunities and encouraging the private-sector investments
                  that are critical to meeting people’s energy needs.238

          123.    ExxonMobil has also expressed its view on the policy tradeoffs of certain

climate initiatives. For example, ExxonMobil stated that any plan to reduce carbon-based

emissions “in the range of 80 percent through the year 2040” in an effort to “stabiliz[e]

world temperature increases not to exceed 2 degrees Celsius by 2100” is unlikely to be

235
      Ex. S58 at App. 1229.
236
      Id. at App. 1230.
237
      Id. at App. 1270.
238
      Id. at 1278.
                                               50
achieved because “the transition to lower carbon energy sources will . . . take time.”239

ExxonMobil has stated that “renewable sources, such as solar and wind, despite very

rapid growth rates, cannot scale up quickly enough to meet global demand growth while

at the same time displacing more traditional sources of energy.”240          According to

ExxonMobil, “[f]actors limiting further penetration of renewables include scalability,

geographic dispersion, intermittency (in the case of solar and wind), and cost relative to

other sources.”241 The company further clarified that, accounting for current and future

taxes on carbon emissions—which are embedded into energy demand projections that

appear in the Outlook for Energy—did not change its perspective that the “cost

limitations of renewables are likely to persist.”242

          124.    While Attorneys General Schneiderman and Healey and the other

members of the Green 20 are entitled to disagree with ExxonMobil’s position on the

proper policy responses to climate change, no member of that coalition is entitled to

target one side of that discussion (or the debate about any other important public issue) to

alter its viewpoints through baseless investigations and burdensome subpoenas.

ExxonMobil intends—and has a constitutional right—to continue to advance its

perspective in the national discussions over how best to respond to climate change and

the likely future mix of energy sources. Its right to do so should not be violated through

this exercise of government power.

          125.    As a result of the improper and politically motivated investigations

launched by Attorneys General Schneiderman and Healey, ExxonMobil has suffered,


239
      Ex. S56 at App. 1150, 1152.
240
      Id. at 1152–53.
241
      Id. at App. 1148–1149.
242
      Id. at 1149.
                                              51
now suffers, and will continue to suffer violations of its rights under the First, Fourth, and

Fourteenth Amendments to the United States Constitution and under Sections Eight,

Nine, and Nineteen of Article One of the Texas Constitution.               Attorneys General

Schneiderman’s and Healey’s actions also violate Articles One and Six of the United

States Constitution and constitute an unlawful conspiracy and abuse of process under

common law.

       126.     Acting under the laws, customs, and usages of New York and

Massachusetts,    Attorneys    General    Schneiderman     and    Healey     have   subjected

ExxonMobil, and are causing ExxonMobil to be subjected, to the deprivation of rights,

privileges, and immunities secured by the United States Constitution and the Texas

Constitution.    ExxonMobil’s rights are made enforceable against Attorneys General

Schneiderman and Healey, who are acting under the color of law, by Article One, Section

Eight of the United States Constitution, and the Due Process Clause of Section 1 of the

Fourteenth Amendment to the United States Constitution, all within the meaning and

contemplation of 42 U.S.C. § 1983, and by Sections Eight, Nine, and Nineteen of Article

One of the Texas Constitution.

       127.     Absent relief, Attorneys General Schneiderman and Healey will continue

to deprive ExxonMobil of these rights, privileges, and immunities.

       128.     In addition, ExxonMobil is threatened with further imminent injury that

will occur if it continues to be targeted for expressing constitutionally protected speech

that is disfavored by the Attorneys General.

       129.     The subpoena and the CID also threaten ongoing imminent injury to

ExxonMobil because they subject ExxonMobil to an unreasonable search in violation of


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the Fourth Amendment.          Complying with these unreasonably burdensome and

unwarranted fishing expeditions would require ExxonMobil to collect, review, and

produce millions more documents, and would cost millions of dollars.

        130.    If ExxonMobil’s request for injunctive relief is not granted, and Attorneys

General Schneiderman and Healey are permitted to persist in their investigations, then

ExxonMobil will suffer these imminent and irreparable harms. ExxonMobil has no

adequate remedy at law for the violation of its constitutional rights.

CAUSES OF ACTION

A.      First Cause of Action: Conspiracy

        131.    ExxonMobil repeats and realleges paragraphs 1 through 109 above as if

fully set forth herein.

        132.    The facts set forth herein demonstrate that, acting under color of state law,

Attorneys General Schneiderman and Healey have agreed with each other, and with

others known and unknown, to deprive ExxonMobil of rights secured by the law to all,

including those guaranteed by the First, Fourth, and Fourteenth Amendments to the

United States Constitution, as well as Sections Eight, Nine, and Nineteen of Article One

of the Texas Constitution.

        133.    In furtherance of these objectives, Attorneys General Schneiderman and

Healey have, among other things, commenced pretextual investigations of ExxonMobil,

issued the unlawful subpoena and CID, and entered the common interest agreement

described above at paragraphs 62-63. The investigations were commenced without a

good faith basis and with the ulterior motive of coercing ExxonMobil to adopt climate

change policies favored by the Attorneys General, in violation of the First, Fourth, and


                                             53
Fourteenth Amendments to the United States Constitution, as well as Sections Eight,

Nine, and Nineteen of Article One of the Texas Constitution.

        134.    ExxonMobil has been damaged, and has been deprived of its rights under

the United States and Texas Constitutions, as a proximate result of the unlawful

conspiracy entered into by Attorneys General Schneiderman and Healey. The conduct of

Attorneys General Schneiderman and Healey therefore violates both 42 U.S.C. § 1985

and the Texas common law.

B.      Second Cause of Action: Violation of ExxonMobil’s First and Fourteenth
        Amendment Rights

        135.    ExxonMobil repeats and realleges paragraphs 1 through 109 above as if

fully set forth herein.

        136.    The Attorneys General’s decision to impose investigative burdens on

ExxonMobil over perceived differences in viewpoint on public policy contravenes, and

any effort to continue the investigations would further contravene, the rights provided to

ExxonMobil by the First Amendment to the United States Constitution, made applicable

to the State of New York and the Commonwealth of Massachusetts by the Fourteenth

Amendment, and by Section Eight of Article One of the Texas Constitution.

        137.    Impermissible   viewpoint    discrimination    motivated   the   Attorneys

General’s deployment of state power. Attorneys General Schneiderman and Healey

commenced their investigations of ExxonMobil and issued subpoenas and a CID based

on their disagreement with ExxonMobil regarding how the United States should respond

to the risks of climate change. And even if these state actions had not been taken for that

illegal purpose, they would still violate the First Amendment, because they burden



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ExxonMobil’s political speech without being substantially related to any compelling

governmental interest.

C.      Third Cause of Action: Violation of ExxonMobil’s Fourth and Fourteenth
        Amendment Rights

        138.    ExxonMobil repeats and realleges paragraphs 1 through 109 above as if

fully set forth herein.

        139.    The issuance of the subpoena and the CID contravenes, and any effort to

enforce the subpoena would further contravene, the rights provided to ExxonMobil by the

Fourth Amendment to the United States Constitution, made applicable to the State of

New York and the Commonwealth of Massachusetts by the Fourteenth Amendment, and

by Section Nine of Article One of the Texas Constitution, to be secure in its papers and

effects against unreasonable searches and seizures.

        140.    The Attorneys General’s document requests amount to unreasonable

searches and seizures because they constitute an abusive fishing expedition into 40 years

of ExxonMobil’s records, without any legitimate basis for believing that ExxonMobil

violated New York or Massachusetts law.           Their overbroad and irrelevant requests

impose an undue burden on ExxonMobil and violate the Fourth Amendment’s

reasonableness requirement, which mandates that a subpoena be limited in scope,

relevant in purpose, and specific in directive.

D.      Fourth Cause of Action: Violation of ExxonMobil’s Fourteenth Amendment
        Rights

        141.    ExxonMobil repeats and realleges paragraphs 1 through 109 above as if

fully set forth herein.

        142.    The investigations conducted by Attorneys General Schneiderman and

Healey contravene the rights provided to ExxonMobil by the Fourteenth Amendment to
                                          55
the United States Constitution and by Section Nineteen of Article One of the Texas

Constitution not to be deprived of life, liberty, or property without due process of law.

        143.    The investigations deprive ExxonMobil of due process of law by violating

the requirement that a prosecutor be disinterested. The statements by Attorneys General

Schneiderman and Healey at the Green 20 press conference and elsewhere make clear

that they are biased against ExxonMobil.

E.      Fifth Cause of Action: Violation of ExxonMobil’s Rights Under the Dormant
        Commerce Clause

        144.    ExxonMobil repeats and realleges paragraphs 1 through 109 above as if

fully set forth herein.

        145.    Article I, Section 8 of the United States Constitution grants Congress

exclusive authority to regulate interstate commerce and thus prohibits the States from

doing so. The investigations and the issuance of the subpoena and the CID contravene,

and any effort to enforce the subpoena and the CID would further contravene, the rights

provided to ExxonMobil under the Dormant Commerce Clause.

        146.    The investigations effectively regulate ExxonMobil’s out-of-state speech

while only purporting to investigate ExxonMobil’s marketing and/or sale of energy and

other fossil fuel derived products to consumers in New York and Massachusetts and its

marketing and/or sale of securities to investors in New York and Massachusetts.

        147.    The Attorneys General demand documents that relate to (1) statements

ExxonMobil made outside New York and Massachusetts, and (2) ExxonMobil’s

communications with organizations residing outside New York and Massachusetts. The

Attorneys General’s document requests therefore have the practical effect of primarily

burdening interstate commerce.

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F.        Sixth Cause of Action: Federal Preemption

          148.   ExxonMobil repeats and realleges paragraphs 1 through 109 above as if

fully set forth herein.

          149.   Article VI, Clause 2 of the United States Constitution provides that the

laws of the United States “shall be the supreme law of the land.” Any state law that

imposes disclosure requirements inconsistent with federal law is preempted under the

Supremacy Clause.

          150.   Federal law requires ExxonMobil to calculate and report its proved oil and

gas reserves based on “existing economic conditions, operating methods, and government

regulations.” This requirement reflects the SEC’s reasoned judgment about how best to

supply investors with information about the relative value of oil and gas companies, as

well as its balancing of competing priorities, such as the agency’s desire for

comprehensive disclosures, that are not unduly burdensome, and which investors can

easily compare. Similarly, accounting standards recognized as authoritative by the SEC

require ExxonMobil to use its own assumptions about future events when determining

whether assets are impaired, not the assumptions of the Attorneys General. Attorneys

General Schneiderman and Healey have stated that they seek to impose liability on

ExxonMobil for failing to account for what they believe will be the financial impact of

as-yet-unknown “carbon dioxide emissions limits put in place to stabilize global average

temperature” in estimating and reporting ExxonMobil’s proven reserves and valuing its

assets.     The Attorneys General therefore would seek to punish ExxonMobil for

complying with federal law and the accounting standards embedded therein.

          151.   Even if the New York or Massachusetts Attorneys General were to seek

only to layer additional disclosure requirements concerning oil and gas reserves and asset
                                            57
valuations beyond those imposed by the SEC, this would frustrate, and pose an obstacle

to, Congress’s and the SEC’s efforts to create a uniform market for securities and provide

consistent metrics by which investors can measure oil and gas companies on a relative

basis.

         152.   Because these investigations under New York and Massachusetts law

create a conflict with, and pose an obstacle to, federal law, the application of New York

and Massachusetts law to this case is preempted.

G.       Seventh Cause of Action: Abuse of Process

         153.   ExxonMobil repeats and realleges paragraphs 1 through 109 above as if

fully set forth herein.

         154.   Attorneys General Schneiderman and Healey committed an abuse of

process under common law by (1) issuing the subpoena and the CID to ExxonMobil

without having a good faith basis for conducting an investigation; (2) having an ulterior

motive for issuing and serving the subpoena and the CID, namely, an intent to prevent

ExxonMobil from exercising its right to express views with which they disagree; and

(3) causing injury to ExxonMobil’s reputation and violating its constitutional rights.

                                PRAYER FOR RELIEF

         WHEREFORE, ExxonMobil prays that Attorneys General Schneiderman and

Healey be summoned to appear and answer and that this Court award the following relief:

         1.     A declaratory judgment pursuant to 28 U.S.C. § 2201, declaring that

investigations of ExxonMobil, as conducted by Attorneys General Schneiderman and

Healey, violate ExxonMobil’s rights under the First, Fourth, and Fourteenth Amendments

to the United States Constitution; violate ExxonMobil’s rights under Sections Eight,


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Nine, and Nineteen of Article One of the Texas Constitution; and violate the Dormant

Commerce Clause and the Supremacy Clause of the United States Constitution;

       2.      A declaratory judgment pursuant to 28 U.S.C. § 2201, declaring that the

issuance of the subpoena and the CID constitute an abuse of process, in violation of

common law;

       3.      A preliminary and permanent injunction halting or appropriately limiting

the investigations;

       4.      Such other injunctive relief to which ExxonMobil is entitled; and

       5.      All costs of court together with any and all such other and further relief as

this Court may deem proper.




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Dated: January 12, 2018


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